       Case 2:11-cv-02884-BMS Document 7 Filed 07/21/11 Page 1 of 1




                  IN Th~PNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA




JANEL MAPLE

          v.                                  NO.   11-CV-2884

NCO FINANCIAL SYSTEMS, INC.


                                                               FILED
                                                             JUL 2 1 2011
                                JUDGMENT
                                                          :'CHAEL E. KUNZ, Clerk
                                                            y-      - Dep. Clerk
BEFORE SCHILLER, J.

           AND NOW, to wit, this 21st day of July, 2011,
It is ORDERED in accordance with NCO FINANCIAL SYSTEMS, INC'S offer
of judgment and Plaintiffs acceptance pursuant to F.R.C.P.
68, judgment is entered in favor of Plaintiff and against NCO
FINANCIAL SYSTEMS, INC. in the amount of $750.00 together with
interest and costs.
                                  BY THE COURT:



                                    ATTEST:




judg
